      Case 4:02-cr-00373 Document 230 Filed on 11/22/05 in TXSD Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

 ODIS LEE JACKSON                      §
                                       §
          Petitioner,                  §
                                       §
 v.                                    §     Civil Action No. H-05-890
                                       §     Criminal Action No. H-02-373-4
 UNITES STATES OF AMERICA,             §
                                       §
          Respondent.                  §
                                       §
                              FINAL JUDGMENT

       As Petitioner Odis Lee Jackson’s 28 U.S.C. § 2255 Motion to Vacate, Set

Aside, or Correct Sentence (Civil Document No. 1, Criminal Document No. 212)

has been denied, and the United States of America’s Motion to Dismiss (Criminal

Document No. 219) has been granted, the Court hereby

       DISM ISSES Petitioner Odis Lee Jackson’s § 2255 motion.

       This is a FINAL JUDGMENT.

       SIGNED at Houston, Texas, on this 22 nd day of November, 2005.


                                             __________________________

                                                   DAVID HITTNER

                                               United States District Judge
Case 4:02-cr-00373 Document 230 Filed on 11/22/05 in TXSD Page 2 of 2




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